From: Kirsten Rasanen com>

Fee ete EE I, Spun Aiggeebiled|2eH23 Page 1 of

Subject: Fwd: [Meeting Summary] Play Payment Policy

Cc: Claire Hart google.com>, Samer Sayigh {@go0gle.com>, Paul Feng <j @google.com>, Tia Arzu
google.com>, Purnima Kochikar google.com>

(smaller group)
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Sameer, Jamie -

During our last discussion on Policy update, we decided to hold for now on making policy updates. You mentioned that you
may be able to co-opt some of Hiroshi's 1:1 with Sundar this week to validate our decision. I am assuming that topic is lower
priority than others right now and will not be raised to Sundar, but want to ensure that we're all aligned on next steps.

I need to update the broader BD team about our plans as they're anxiously awaiting and have some antsy developers nipping
at their heels. We are preparing comms docs for the team to use reactively with most developers and pro-actively when
advantageous (eg. Netflix). We will ask that they not communicate out until after 4/25 in case we have additional information
following the release of the P2B draft that impacts our messaging.

All comms will be cleared with legal/pr before being disseminated to BD team members or partners.

Can you confirm that you are OK with this plan and nothing has changed on your end?

Thanks,

---------- Forwarded message --------- EXH l B IT 8526

From: Samer Sayigh {i @go0¢le.com>
Date: Sat, Mar 24, 2018 at 2:59 PM

Subject: [Meeting Summary] Play Payment Policy

To: Jamie Rosenberg <Q @coogle.com>, Sameer Samat EEE @google.com>, Tian Lim ff @zgoogle.com>,
Kirsten Rasanen (@google.com>, Paul Feng Wgoogle.com>, Larry Yang @google.com>, Tia Arzu
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Hi all -- below is a summary of Friday's policy meeting.

Meeting Outcome & Follow Ups
* Policy change goals are to improve payment UX and ensure ecosystem consistency. Even though we
have a defensible plan that achieves goals and made progress with many developers impacted, the sense is
we'll likely not want to trigger Spotify agitation and associated noise with a policy change. I.e. the
risk of likely Spotify agitation may be higher than the (harder to gauge) risk of status quo.

_(proposal should be released 4/25 -- we may want to wait until then before taking
any action).

* Jamie / Sameer can double check with Sundar, possibly week of 4/2

* Working team to keep Jamie / Sameer informed of risk level of status quo -- €.g. worsening payment
UX, and increase in likelihood that Play billing requirement altogether due to app exception

* Working team to determine how best to harness progress with other devs -- e.g. incentives, and/or
policy clarification + enforcement around the edges

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- Question: SF Worth Oe mors chat with Spotity to better pbseee Hol ainfeSsed they'd be if we
changed policy, but provided generous grandfathering (e.g. 2-yrs and no requirements)? We owe
them a response on their grandfathering counterproposal anyhow

Option Summary (for reference)

Option Advantage Key Risk

Remove Exception Achieves goals: (1) removes policy Google triggers (1) Spotify agitation |
-Require exclusive GPB integration for all | ambiguity + ensures consistency, (2) likelihood), and associated noise
digital IAPs improves payment UX

-Provide generous grandfathering (2 yrs;

minimal reqs) Better positions us to respond to

increasing regulatory inquiry

Can likely onboard majority of Head apps
we spoke to (except Spotify)

Keep Exception; Add Requirements Partially achieves goal of improved Draws attention to ambiguous excep
payment UX which may prove hard to justify —
contagion

New reqs are defensible

No Policy Change Google doesn't trigger noise Regulator may deem exclusive GPB
requirement is unnecessary, partly dt
current exception

More apps de-integrate GPB

Other Notes

If we changed policy and provided 2-yr grandfathering, let's consider:
* Incentives to encourage earlier Play billing adoption

¢ ATV carveouts for all video devs with existing TV deals

* How best to ensure 1P comply (e.g. Play billing integration + revenue share)

Samer

Kirsten Rasanen | Director, Google Play Partnerships |B coogle.com | a

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Option

Advantage

Key Risk

Remove Exception

-Require exclusive GPB integration for all
digital IAPs

-Provide generous grandfathering (2 yrs;
minimal reas}

Achieves goals: (1) removes policy
ambiquity + ensures consistency, (2)
improves payment UX

Better positions us to respond to
increasing regulatory inquiry

Can likely onboard majority of Head apps
we spoke to (except Spotify)

Google triggers (1) Spotify agitation (high
likelihood), and asscciated noise

Keep Exception; Add Requirements

Partially achieves goal of improved
payment UX

New reqs are defensible

Draws attention to ambiguous exception,
which may prove hard to justify —
contagion

No Policy Change

Google doesn't triager noise

Regulator may deem exclusive GPB
requirement is unnecessary, partly due to
current exception

More apps de-integrate GPB

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